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 8                            UNITED STATES DISTRICT COURT

 9              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10 MEGAN KASPAR,                              Case No. 18-cv-3048
11                      Plaintiff,
                                              COMPLAINT
12        vs.
13 CG BLOCKCHAIN, INC.,                       JURY TRIAL DEMANDED
14                      Defendant.

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COMPLAINT                                                           Immix Law Group PC
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 1        Plaintiff Megan Kaspar (“Kaspar”), by her attorneys, for her Complaint against

 2 Defendant CG Blockchain, Inc. (“CG Blockchain”), alleges as follows:

 3                                 NATURE OF THE ACTION

 4     1. This is a complaint for breach of contract arising out of CG Blockchain’s refusal to pay

 5        Kaspar $400,000 (the “Final Fee”) due pursuant to the Independent Contractor

 6        Agreement (the “Agreement”) between Kaspar and CG Blockchain.

 7                                            PARTIES

 8     2. Plaintiff Kaspar is an individual residing in Beverly Hills, in Los Angeles County,

 9        California.

10     3. Defendant CG Blockchain, Inc. is a New York corporation with a principal place of

11        business in New York, New York.

12                                JURISDICTION AND VENUE

13     4. This Court has jurisdiction pursuant to 28 U.S.C. § 1332 because (a) Kaspar is a citizen

14        of California and CG Blockchain is a citizen of New York; and (b) the amount in

15        controversy in the dispute between the parties exceeds $75,000.

16     5. Venue is proper in this Central District of California pursuant to 28 U.S.C. § 1391(b)(2)

17        because a substantial part of the events giving rise to the claim occurred in this District.

18                                             FACTS

19     6. In January 2018, CG Blockchain began offering a cryptocurrency (the “Initial Coin

20        Offering” or “ICO”).

21     7. On February 8, 2018, Kaspar and CG Blockchain entered into the Agreement, a copy

22        of which is attached hereto as Exhibit A.

23     8. Pursuant to the Agreement, Kaspar agreed to “provide expertise, advisory services, and

24        perform any duties within [her] capabilities on an as-needed basis for the Company”

25        and to “fulfill any other duties reasonably requested by the Company and agreed to by”

26        her.

Page 1 – COMPLAINT                                                              Immix Law Group PC
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 1     9. In exchange for Kaspar’s agreement to provide services, CG Blockchain agreed to pay

 2        her for her services in the form of a Base Fee and a Final Fee.

 3     10. Kaspar has performed all contractual duties under the Agreement.

 4     11. At no time has Kaspar breached any aspect of the Agreement.

 5     12. CG Blockchain agreed to pay Kaspar a $400,000 Final Fee by no later than April 6,

 6        2018.

 7     13. In the Agreement, Kaspar could elect to receive the Final Fee in the form of equity (the

 8        “Equity Fee”).

 9     14. Up to April 5, 2018, Kaspar could elect to receive the Equity Fee payable in the form

10        of cryptocurrency (“Coin”) offered by CG Blockchain.

11     15. On April 3, 2018, Kaspar did elect to receive the Final Fee in Coin.

12     16. Pursuant to the Agreement, if CG Blockchain did not close the ICO by March 31, 2018

13        (the “ICO Deadline”), then the Final Fee was to be paid in cash, within 5 business days

14        of the ICO Deadline.

15     17. CG Blockchain did not close the ICO by the ICO Deadline.

16     18. CG Blockchain has not paid Kaspar the Final Fee which it agreed to pay her by April

17        6, 2018, five business days after March 31, 2018.

18     19. As a result of CG Blockchain’s breach of the Agreement, Kaspar has been damaged in

19        the amount of not less than $400,000, plus pre- and post-judgment interest.

20                           COUNT I: BREACH OF CONTRACT

21     20. Kaspar incorporates the foregoing paragraphs as if specifically set forth herein.

22     21. Kaspar has fully performed under the Agreement between Kaspar and CG Blockchain.

23     22. CG Blockchain has breached the Agreement by failing to pay Kaspar the Final Fee.

24     23. As a result of CG Blockchain’s breach, Kaspar has been damaged in the amount of not

25        less than $400,000, plus pre-and post-judgment interest.

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 1                                  PRAYER FOR RELIEF

 2        WHEREFORE, Kaspar respectfully demands trial by jury and requests that the Court

 3 enter judgment in favor of Kaspar and against CG Blockchain for the sole claim of breach of

 4 contract:

 5        (a) Award Kaspar compensatory damages in an amount of not less than of $400,000;

 6        (b) Awarding Kaspar pre- and post-judgment interest;

 7        (c) Awarding such other relief as the Court deems just and proper.

 8 DATED this 11th day of April, 2018.

 9                                           IMMIX LAW GROUP PC

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                                             By
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